        Case 1:14-cv-01528-VEC Document 145 Filed 07/09/20 Page 1 of 1



                                                                                     Scott M. Kessler

                                                                                       Akerman LLP
                                                                                    666 Fifth Avenue
                                                                                           20th Floor
                                                                                 New York, NY 10103

                                                                                       D: 212 880 3874
                                                                                       T: 212 880 3800
                                                                                       F: 212 880 8965
                                                                                    DirF: 212 905 6411
July 9, 2020                                                              Scott.Kessler@akerman.com

VIA ECF

Hon. Valerie E. Caproni, U.S.D.J.
United States Courthouse
40 Foley Square
New York, NY 10007

       Re:     SEC v. Davis, et al., (1:14-cv-01528-VEC)

Dear Judge Caproni:

       We represent defendant Joel Sanders (“Sanders”) in this matter, and we write to provide
the Court with a report on the status of Sanders’ criminal appeal, as directed by Your Honor on
June 12, 2018 (Doc. No. 129).

        As previously reported, Sanders’ amended brief was filed on August 5, 2019. On
January 16, 2020, at the Government’s request, Sanders stipulated to further adjourn the appeal
to the September 2020 Term. The First Department approved this request, and the Government’s
response is now due on August 12, 2020.

        We remain available should the Court have any questions concerning this update or the
status of Sanders’ criminal appeal.


                                     Respectfully submitted,




                                     Scott M. Kessler

cc:    Counsel of Record (via ECF)




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